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                    IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF OREGON


 UNITED STATES OF AMERICA,

                      Plaintiff,                    Case No. 3:10-cr-00298-RRB-1

        vs.
                                                      ORDER REQUIRING
 MARK JOHN WALKER,                                     RECALCULATION
                                                     OF GOOD TIME CREDIT
                      Defendant.




              Before the Court at Docket 103 is Defendant with a Motion for Habeas

Corpus Relief. At Docket 107, the Government challenges this Court’s jurisdiction and

Defendant replies at Docket 109.

              For the reasons set forth by Defendant at Docket 109, the Court concludes

that it does have jurisdiction to address the current matter.          Moreover, given the

Government’s failure to address the merits of Defendant’s request, and the equities of the

situation, the Court will GRANT the relief requested for this case only, without a final

determination of the merits of the legal issues raised by Defendant.

              IT IS THEREFORE HEREBY ORDERED that the Bureau of Prisons

recalculate Defendant’s release date forthwith, using the amended good time provision in
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18 U.S.C. § 3624(b) and a rate of 54 days of good conduct time per year for the ten year

term of imprisonment imposed.

                IT IS FURTHER ORDERED that the Bureau of Prisons release Defendant

without delay if the recalculation confirms that the Defendant’s term of imprisonment has

expired. Defendant thereafter will be required to strictly comply with his conditions of

supervised release.

                IT IS SO ORDERED this 7th day of February, 2019, at Anchorage, Alaska.


                                                                 /s/ Ralph R. Beistline
                                                               RALPH R. BEISTLINE
                                                          Senior United States District Judge




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